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                     16                                                    MerchSource, LLC

                     17
                                                          UNITED STATES DISTRICT COURT
                     18
                                      CENTRAL DISTRICT OF CALIFORNIA, SOUTHERN DIVISION
                     19
                          HYPER ICE, INC., a California                    CASE NO. 8:21-cv-01133-JVS-ADS
                     20
                          corporation,
                     21                                                    [PROPOSED] PROTECTIVE
                                             Plaintiff,                    ORDER
                     22
                     23             vs.                                    Trial Date:      None Set
                     24
                        MERCHSOURCE, LLC., a Delaware
                     25 limited liability company,
                     26
                                             Defendant.
                     27

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                      2 1.         A.        PURPOSES AND LIMITATIONS
                      3            Disclosure and discovery activity in this action are likely to involve
                      4 production of confidential, proprietary, or private information for which special
                      5 protection from public disclosure and from use for any purpose other than
                      6 prosecuting this litigation may be warranted. Accordingly, the parties hereby
                      7 stipulate to and petition the Court to enter the following Stipulated Protective Order.
                      8 The parties further acknowledge that this Stipulated Protective Order does not
                      9 entitle them to file confidential information under seal; Civil Local Rule 79-5 sets
                     10 forth the procedures that must be followed and the standards that will be applied
                     11 when a party seeks permission from the Curt to file material under seal.
                     12            B.        GOOD CAUSE STATEMENT
                     13            This action is likely to involve trade secrets, customer and pricing lists and
                     14 other valuable research, development, commercial, financial, technical and/or
                     15 proprietary information for which special protection from public disclosure and
                     16 from use for any purpose other than prosecution of this action is warranted. Such
                     17 confidential and proprietary materials and information consist of, among other
                     18 things, confidential business or financial information, information regarding
                     19 confidential business practices, or other confidential research, development, or
                     20 commercial information (including information implicating privacy rights of third
                     21 parties), information otherwise generally unavailable to the public, or which may be
                     22 privileged or otherwise protected from disclosure under state or federal statutes,
                     23 court rules, case decisions, or common law. Accordingly, to expedite the flow of
                     24 information, to facilitate the prompt resolution of disputes over confidentiality of
                     25 discovery materials, to adequately protect information the parties are entitled to keep
                     26 confidential, to ensure that the parties are permitted reasonable necessary uses of
                     27 such material in preparation for and in the conduct of trial, to address their handling

LEWIS                28 at the end of the litigation, and serve the ends of justice, a protective order for such
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                      1 information is justified in this matter. It is the intent of the parties that information
                      2 will not be designated as confidential for tactical reasons and that nothing be so
                      3 designated without a good faith belief that it has been maintained in a confidential,
                      4 non-public manner, and there is good cause why it should not be part of the public
                      5 record of this case.
                      6 2.         DEFINITIONS
                      7            2.1       Challenging Party: a Party or Non-Party that challenges the
                      8 designation of information or items under this Order.
                      9            2.2       “CONFIDENTIAL” Information or Items: information (regardless of
                     10 how it is generated, stored or maintained) or tangible things that qualify for
                     11 protection under Federal Rule of Civil Procedure 26(c).
                     12            2.3       Counsel (without qualifier): Outside Counsel of Record and House
                     13 Counsel (as well as their support staff).
                     14            2.4       Designating Party: a Party or Non-Party that designates information or
                     15 items that it produces in disclosures or in responses to discovery as
                     16 “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
                     17 ONLY.”
                     18            2.5       Disclosure or Discovery Material: all items or information, regardless
                     19 of the medium or manner in which it is generated, stored, or maintained (including,
                     20 among other things, testimony, transcripts, and tangible things), that are produced or
                     21 generated in disclosures or responses to discovery in this matter.
                     22            2.6       Expert: a person with specialized knowledge or experience in a matter
                     23 pertinent to the litigation who has been retained by a Party or its counsel to serve as
                     24 an expert witness or as a consultant in this action.
                     25            2.7       “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY”
                     26 Information or Items: sensitive CONFIDENTIAL Information or Items, the
                     27 disclosure of which to another Party or Non-Party would create a substantial risk of

LEWIS                28 harm that could not be avoided by less restrictive means.
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                      1            2.8       House Counsel: attorneys who are employees of a party to this action.
                      2 House Counsel does not include Outside Counsel of Record or any other outside
                      3 counsel.
                      4            2.8       Non-Party: any natural person, partnership, corporation, association, or
                      5 other legal entity not named as a Party to this action.
                      6            2.9       Outside Counsel of Record: attorneys who are not employees of a
                      7 party to this action but are retained to represent or advise a party to this action and
                      8 have appeared in this action on behalf of that party or are affiliated with a law firm
                      9 which has appeared on behalf of that party.
                     10            2.10 Party: any party to this action, including all of its officers, directors,
                     11 employees, consultants, retained experts, and Outside Counsel of Record (and their
                     12 support staffs).
                     13            2.11 Producing Party: a Party or Non-Party that produces Disclosure or
                     14 Discovery Material in this action.
                     15            2.12 Professional Vendors: persons or entities that provide litigation
                     16 support services (e.g., photocopying, videotaping, translating, preparing exhibits or
                     17 demonstrations, and organizing, storing, or retrieving data in any form or medium)
                     18 and their employees and subcontractors.
                     19            2.13 Protected Material: any Disclosure or Discovery Material that is
                     20 designated as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL –
                     21 ATTORNEYS’ EYES ONLY (with or without “PROSECUTION BAR” sub-
                     22 designation)”
                     23            2.14 Receiving Party: a Party that receives Disclosure or Discovery
                     24 Material from a Producing Party.
                     25 3.         SCOPE
                     26            The protections conferred by this Stipulation and Order cover not only
                     27 Protected Material (as defined above), but also (1) any information copied or

LEWIS                28 extracted from Protected Material; (2) all copies, excerpts, summaries, or
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                      1 compilations of Protected Material; and (3) any testimony, conversations, or
                      2 presentations by Parties or their Counsel that might reveal Protected Material.
                      3 However, the protections conferred by this Stipulation and Order do not cover the
                      4 following information: (a) any information that is in the public domain at the time of
                      5 disclosure to a Receiving Party or becomes part of the public domain after its
                      6 disclosure to a Receiving Party as a result of publication not involving a violation of
                      7 this Order, including becoming part of the public record through trial or otherwise;
                      8 and (b) any information known to the Receiving Party prior to the disclosure or
                      9 obtained by the Receiving Party after the disclosure from a source who obtained the
                     10 information lawfully and under no obligation of confidentiality to the Designating
                     11 Party. Any use of Protected Material at trial shall be governed by a separate
                     12 agreement or order.
                     13 4.         DURATION
                     14            Even after final disposition of this litigation, the confidentiality obligations
                     15 imposed by this Order shall remain in effect until a Designating Party agrees
                     16 otherwise in writing or a court order otherwise directs. Final disposition shall be
                     17 deemed to be the later of (1) dismissal of all claims and defenses in this action, with
                     18 or without prejudice; and (2) final judgment herein after the completion and
                     19 exhaustion of all appeals, rehearings, remands, trials, or reviews of this action,
                     20 including the time limits for filing any motions or applications for extension of time
                     21 pursuant to applicable law.
                     22 5.         DESIGNATING PROTECTED MATERIAL
                     23            5.1       Manner and Timing of Designations. Except as otherwise provided in
                     24 this Order (see, e.g., second paragraph of section 5.1(a) below), or as otherwise
                     25 stipulated or ordered, Disclosure or Discovery Material that qualifies for protection
                     26 under this Order must be clearly so designated before the material is disclosed or
                     27 produced.

LEWIS                28            Designation in conformity with this Order requires:
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                      1                      (a) for information in documentary form (e.g., paper or electronic
                      2            documents, but excluding transcripts of depositions or other pretrial or trial
                      3            proceedings), that the Producing Party affix the legend “CONFIDENTIAL”
                      4            or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” (e.g., by
                      5            making appropriate markings in the margins) to indicate Protected Material.
                      6            A Party or Non-Party that makes original documents or materials available for
                      7            inspection need not designate them for protection until after the inspecting
                      8            Party has indicated which material it would like copied and produced. During
                      9            the inspection and before the designation, all of the material made available
                     10            for inspection shall be deemed “CONFIDENTIAL” or “HIGHLY
                     11            CONFIDENTIAL – ATTORNEYS’ EYES ONLY.” After the inspecting
                     12            Party has identified the documents it wants copied and produced, the
                     13            Producing Party must determine which documents, or portions thereof,
                     14            qualify for protection under this Order. Then, before producing the specified
                     15            documents, the Producing Party must affix the “CONFIDENTIAL” or
                     16            “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” to indicate
                     17            Protected Material.
                     18                      (b) for information produced in some form other than documentary and
                     19            for any other tangible items, that the Producing Party affix in a prominent
                     20            place on the exterior of the container or containers in which the information
                     21            or item is stored the legend “CONFIDENTIAL” or “HIGHLY
                     22            CONFIDENTIAL – ATTORNEYS’ EYES ONLY.”
                     23            5.2       Inadvertent Failures to Designate. If timely corrected, an inadvertent
                     24 failure to designate qualified information or items does not, standing alone, waive
                     25 the Designating Party’s right to secure protection under this Order for such material.
                     26 Upon timely correction of a designation, the Receiving Party must make reasonable
                     27 efforts to assure that the material is treated in accordance with the provisions of this

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                      1 6.         CHALLENGING CONFIDENTIALITY DESIGNATIONS
                      2            6.1       Timing of Challenges. Any Party or Non-Party may challenge a
                      3 designation of confidentiality at any time. Unless a prompt challenge to a
                      4 Designating Party’s confidentiality designation is necessary to avoid foreseeable,
                      5 substantial unfairness, unnecessary economic burdens, or a significant disruption or
                      6 delay of the litigation, a Party does not waive its right to challenge a confidentiality
                      7 designation by electing not to mount a challenge promptly after the original
                      8 designation is disclosed.
                      9            6.2       Meet and Confer. The Challenging Party shall initiate the dispute
                     10 resolution process by providing written notice of each designation it is challenging
                     11 and describing the basis for each challenge. To avoid ambiguity as to whether a
                     12 challenge has been made, the written notice must recite that the challenge to
                     13 confidentiality is being made in accordance with this specific paragraph of the
                     14 Protective Order. The parties shall attempt to resolve each challenge in good faith
                     15 and must begin the process by conferring directly (in voice to voice dialogue; other
                     16 forms of communication are not sufficient) within 14 days of the date of service of
                     17 notice. In conferring, the Challenging Party must explain the basis for its belief that
                     18 the confidentiality designation was not proper and must give the Designating Party
                     19 an opportunity to review the designated material, to reconsider the circumstances,
                     20 and, if no change in designation is offered, to explain the basis for the chosen
                     21 designation. A Challenging Party may proceed to the next stage of the challenge
                     22 process only if it has engaged in this meet and confer process first or establishes that
                     23 the Designating Party is unwilling to participate in the meet and confer process in a
                     24 timely manner.
                     25            6.3       Judicial Intervention. If the Parties cannot resolve a challenge without
                     26 court intervention, the Challenging Party shall file a motion with the Court
                     27 challenging the disputed confidentiality designation. Each such motion must be

LEWIS                28 accompanied by a competent declaration affirming that the movant has complied
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                      1 with the meet and confer requirements imposed in the preceding paragraph.
                      2 Frivolous challenges, and those made for an improper purpose (e.g., to harass or
                      3 impose unnecessary expenses and burdens on other parties) may expose the
                      4 Challenging Party to sanctions. All parties shall continue to afford the material in
                      5 question the level of protection to which it is entitled under the Producing Party’s
                      6 designation until the court rules on the challenge.
                      7 7.         ACCESS TO AND USE OF PROTECTED MATERIAL
                      8            7.1       Basic Principles. A Receiving Party may use Protected Material that is
                      9 disclosed or produced by another Party or by a Non-Party in connection with this
                     10 case only for prosecuting, defending, or attempting to settle this litigation. Under no
                     11 circumstances shall the Protected Material that is disclosed in connection with this
                     12 case be used for the purpose of broadening the scope of any patent claims in any
                     13 issued, pending or future filed patent application. Such Protected Material may be
                     14 disclosed only to the categories of persons and under the conditions described in this
                     15 Order. When the litigation has been terminated, a Receiving Party must comply with
                     16 the provisions of section 14 below (FINAL DISPOSITION).
                     17            Protected Material must be stored and maintained by a Receiving Party at a
                     18 location and in a secure manner that ensures that access is limited to the persons
                     19 authorized under this Order.
                     20            7.2       Disclosure of “CONFIDENTIAL” Information or Items. Unless
                     21 otherwise ordered by the court or permitted in writing by the Designating Party, a
                     22 Receiving Party may disclose any information or item designated
                     23 “CONFIDENTIAL” only to:
                     24                      (a) the Receiving Party’s Outside Counsel of Record in this action, as
                     25            well as employees of said Outside Counsel of Record to whom it is
                     26            reasonably necessary to disclose the information for this litigation and who
                     27            have signed the “Acknowledgment and Agreement to Be Bound” that is

LEWIS                28            attached hereto as Exhibit A;
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                      1                      (b) the officers, directors, and employees (including House Counsel) of
                      2            the Receiving Party to whom disclosure is reasonably necessary for this
                      3            litigation and who have signed the “Acknowledgment and Agreement to Be
                      4            Bound” (Exhibit A);
                      5                      (c) Experts (as defined in this Order) of the Receiving Party to whom
                      6            disclosure is reasonably necessary for this litigation and who have signed the
                      7            “Acknowledgment and Agreement to Be Bound” (Exhibit A);
                      8                      (d) the court and its personnel;
                      9                      (e) court reporters and their staff, professional jury or trial consultants,
                     10            mock jurors, and Professional Vendors to whom disclosure is reasonably
                     11            necessary for this litigation and who have signed the “Acknowledgment and
                     12            Agreement to Be Bound” (Exhibit A);
                     13                      (f) during their depositions, witnesses in the action to whom disclosure
                     14            is reasonably necessary and who have signed the “Acknowledgment and
                     15            Agreement to Be Bound” (Exhibit A), unless otherwise agreed by the
                     16            Designating Party or ordered by the court. Pages of transcribed deposition
                     17            testimony or exhibits to depositions that reveal Protected Material must be
                     18            separately bound by the court reporter and may not be disclosed to anyone
                     19            except as permitted under this Stipulated Protective Order.
                     20                      (g) the author or recipient of a document containing the information or
                     21            a custodian or other person who otherwise possessed or knew the information.
                     22            7.3       Disclosure of “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
                     23 ONLY” Information or Items. Unless otherwise ordered by the court or permitted in
                     24 writing by the Designating Party, a Receiving Party may disclose any information or
                     25 item designated “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES ONLY” only
                     26 to:
                     27                      (a) the Receiving Party’s Outside Counsel of Record in this action, as

LEWIS                28            well as employees of said Outside Counsel of Record to whom it is
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                    1            reasonably necessary to disclose the information for this litigation;
                    2                      (b) Experts of the Receiving Party (1) to whom disclosure is reasonably
                    3            necessary for this litigation, and (2) who have signed the “Acknowledgment
                    4            and Agreement to Be Bound” (Exhibit A);
                    5                      (c) the court and its personnel;
                    6                      (d) court reporters and their staff, professional jury or trial consultants,
                    7            and Professional Vendors to whom disclosure is reasonably necessary for this
                    8            litigation; and
                    9                      (e) the author or recipient of a document containing the information or
                   10            a custodian.
                   11 8.         PROSECUTION BAR
                   12            Absent written consent from the Producing Party, any individual who receives
                   13 access to information with the sub-designation “HIGHLY CONFIDENTIAL –
                   14 ATTORNEYS’ EYES ONLY – PROSECUTION BAR” shall not be involved in the
                   15 prosecution of patents or patent applications relating to massage products, including
                   16 without limitation the patents asserted in this action and any patent or application
                   17 claiming priority to or otherwise related to the patents asserted in this action, before
                   18 any foreign or domestic agency, including the United States Patent and Trademark
                   19 Office, for a period of two (2) years following the entry of a final, non-appealable
                   20 judgment or order or the complete settlement of all claims against all Parties in this
                   21 action. For purposes of this paragraph, “prosecution” includes directly or indirectly
                   22 drafting, amending, advising, or otherwise affecting the scope or maintenance of
                   23 patent claims. To avoid any doubt, “prosecution” as used in this paragraph does not
                   24 include representing a party challenging a patent.
                   25 9.         PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED
                   26 IN OTHER LITIGATION
                   27            If a Party is served with a subpoena or a court order issued in other litigation

LEWIS              28 that compels disclosure of any information or items designated in this action as
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                    1 “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
                    2 ONLY,” that Party must:
                    3            (a) promptly notify in writing the Designating Party. Such notification shall
                    4 include a copy of the subpoena or court order;
                    5            (b) promptly notify in writing the party who caused the subpoena or order to
                    6 issue in the other litigation that some or all of the material covered by the subpoena
                    7 or order is subject to this Protective Order. Such notification shall include a copy of
                    8 this Stipulated Protective Order; and
                    9            (c) cooperate with respect to all reasonable procedures sought to be pursued
                   10 by the Designating Party whose Protected Material may be affected.
                   11            If the Designating Party timely seeks a protective order, the Party served with
                   12 the subpoena or court order shall not produce any information designated in this
                   13 action as “CONFIDENTIAL” or “HIGHLY CONFIDENTIAL – ATTORNEYS’
                   14 EYES ONLY” before a determination by the court from which the subpoena or
                   15 order issued, unless the Party has obtained the Designating Party’s permission. The
                   16 Designating Party shall bear the burden and expense of seeking protection in that
                   17 court of its confidential material – and nothing in these provisions should be
                   18 construed as authorizing or encouraging a Receiving Party in this action to disobey a
                   19 lawful directive from another court.
                   20 10.        A NON-PARTY’S PROTECTED MATERIAL SOUGHT TO BE
                   21 PRODUCED IN THIS LITIGATION
                   22            (a) The terms of this Order are applicable to information produced by a Non-
                   23 Party in this action and designated as “CONFIDENTIAL” or “HIGHLY
                   24 CONFIDENTIAL – ATTORNEYS’ EYES ONLY” Such information produced by
                   25 Non-Parties in connection with this litigation is protected by the remedies and relief
                   26 provided by this Order. Nothing in these provisions should be construed as
                   27 prohibiting a Non-Party from seeking additional protections.

LEWIS              28            (b) In the event that a Party is required, by a valid discovery request, to
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                    1 produce a Non-Party’s confidential information in its possession, and the Party is
                    2 subject to an agreement with the Non-Party not to produce the Non-Party’s
                    3 confidential information, then the Party shall:
                    4                      (1) promptly notify in writing the Requesting Party and the Non-Party
                    5            that some or all of the information requested is subject to a confidentiality
                    6            agreement with a Non-Party;
                    7                      (2) promptly provide the Non-Party with a copy of the Stipulated
                    8            Protective Order in this litigation, the relevant discovery request(s), and a
                    9            reasonably specific description of the information requested; and
                   10                      (3) make the information requested available for inspection by the
                   11            Non-Party.
                   12            (c) If the Non-Party fails to object or seek a protective order from this court
                   13 within 14 days of receiving the notice and accompanying information, the Receiving
                   14 Party may produce the Non-Party’s confidential information responsive to the
                   15 discovery request. If the Non-Party timely seeks a protective order, the Receiving
                   16 Party shall not produce any information in its possession or control that is subject to
                   17 the confidentiality agreement with the Non-Party before a determination by the
                   18 court. Absent a court order to the contrary, the Non-Party shall bear the burden and
                   19 expense of seeking protection in this court of its Protected Material.
                   20 11.        UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
                   21            If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed
                   22 Protected Material to any person or in any circumstance not authorized under this
                   23 Stipulated Protective Order, the Receiving Party must immediately (a) notify in
                   24 writing the Designating Party of the unauthorized disclosures, (b) use its best efforts
                   25 to retrieve all unauthorized copies of the Protected Material, (c) inform the person or
                   26 persons to whom unauthorized disclosures were made of all the terms of this Order,
                   27 and (d) request such person or persons to execute the “Acknowledgment and

LEWIS              28 Agreement to Be Bound” that is attached hereto as Exhibit A.
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                    1 12.        INADVERTENT PRODUCTION OF PRIVILEGED OR OTHERWISE
                    2 PROTECTED MATERIAL
                    3            When a Producing Party gives notice to Receiving Parties that certain
                    4 inadvertently produced material is subject to a claim of privilege or other protection,
                    5 the obligations of the Receiving Parties are those set forth in Federal Rule of Civil
                    6 Procedure 26(b)(5)(B). This provision is not intended to modify whatever procedure
                    7 may be agreed upon or established in an e-discovery order that provides for
                    8 production without prior privilege review.
                    9 13.        MISCELLANEOUS
                   10            13.1 Right to Further Relief. Nothing in this Order abridges the right of any
                   11 person to seek its modification by the court in the future.
                   12            13.2 Right to Assert Other Objections. By stipulating to the entry of this
                   13 Protective Order no Party waives any right it otherwise would have to object to
                   14 disclosing or producing any information or item on any ground not addressed in this
                   15 Stipulated Protective Order. Similarly, no Party waives any right to object on any
                   16 ground to use in evidence of any of the material covered by this Protective Order.
                   17            13.3 Filing Protected Material. Without written permission from the
                   18 Designating Party or a court order secured after appropriate notice to all interested
                   19 persons, a Party may not file in the public record in this action any Protected
                   20 Material. Protected Material may only be filed under seal pursuant to a court order
                   21 authorizing the sealing of the specific Protected Material at issue. A Party that seeks
                   22 to file under seal any Protected Material must comply with Civil Local Rule 79-5.
                   23 14.        FINAL DISPOSITION
                   24            Within 60 days after the final disposition of this action, as defined in
                   25 paragraph 4, each Receiving Party must return all Protected Material to the
                   26 Producing Party or destroy such material. As used in this subdivision, “all Protected
                   27 Material” includes all copies, abstracts, compilations, summaries, and any other

LEWIS              28 format reproducing or capturing any of the Protected Material. Whether the
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                    1 Protected Material is returned or destroyed, the Receiving Party must submit a
                    2 written certification to the Producing Party (and, if not the same person or entity, to
                    3 the Designating Party) by the 60 day deadline that (1) identifies (by category, where
                    4 appropriate) all the Protected Material that was returned or destroyed and (2) affirms
                    5 that the Receiving Party has not retained any copies, abstracts, compilations,
                    6 summaries or any other format reproducing or capturing any of the Protected
                    7 Material. Notwithstanding this provision, Counsel are entitled to retain an archival
                    8 copy of all pleadings, motion papers, trial, deposition, and hearing transcripts, legal
                    9 memoranda, correspondence, deposition and trial exhibits, expert reports, attorney
                   10 work product, and consultant and expert work product, even if such materials
                   11 contain Protected Material. Any such archival copies that contain or constitute
                   12 Protected Material remain subject to this Protective Order as set forth in Section 4
                   13 (DURATION).
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                    1            IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
                    2
                    3                                     Respectfully submitted,
                    4
                    5 DATED: October 7, 2021           LEWIS BRISBOIS BISGAARD
                                                       & SMITH LLP
                    6
                                                       By:     /s/ Brian G. Arnold
                    7
                                                             Brian G. Arnold
                    8                                        Jonathan S. Pink
                                                             Lawrence R. LaPorte
                    9
                                                             Esther Y. Shin
                   10                                        Attorneys for Plaintiff
                   11                                        HYPER ICE, INC.

                   12
                        DATED: October 7, 2021         RENNER OTTO
                   13
                   14                                  By:     /s/ Mark C. Johnson
                                                             Mark C. Johnson
                   15                                        Kyle B. Fleming
                   16                                        Sarah L. Boone
                                                             Gregory Cordrey
                   17                                        Joseph J. Mellema
                   18                                        Attorneys for Defendant
                                                             MerchSource, LLC
                   19
                   20
                   21 PURSUANT TO STIPULATION, IT IS SO ORDERED.
                   22
                   23 DATED: ____________________ _________________________________
                   24                              United States District Judge

                   25
                   26
                   27

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& SMITH LLP
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                    1                                  EXHIBIT A
                                       ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND
                    2
                    3
                    4            I,                                             [print or type full name], of
                    5                                                                         [print or type full
                    6 address], declare under penalty of perjury that I have read in its entirety and
                    7 understand the Stipulated Protective Order that was issued by the United States
                    8 District Court for the Central District of California on _____________ in the case of
                    9 Hyper Ice, Inc. v. MerchSource, LLC in the United States District Court for the
                   10 Central District of California, Case No. 8:21-cv-01133-JVS. I agree to comply with
                   11 and to be bound by all the terms of this Stipulated Protective Order and I understand
                   12 and acknowledge that failure to so comply could expose me to sanctions and
                   13 punishment in the nature of contempt. I solemnly promise that I will not disclose in
                   14 any manner any information or item that is subject to this Stipulated Protective
                   15 Order to any person or entity except in strict compliance with the provisions of this
                   16 Order.
                   17            I further agree to submit to the jurisdiction of the United States District Court
                   18 for the Central District of California for the purpose of enforcing the terms of this
                   19 Stipulated Protective Order, even if such enforcement proceedings occur after
                   20 termination of this action.
                   21
                   22 Date: _________________________________
                   23
                      Printed name: ______________________________
                   24
                                    [printed name]
                   25
                      Signature: __________________________________
                   26
                      [signature]
                   27

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& SMITH LLP
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ATTORNEYS AT LAW                                        [PROPOSED] PROTECTIVE ORDER
